                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 1 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: KDIZI Smiley Face Necklaces,Pink Necklace Gold Stainless Steel Paperclip Chain Simple Round Smile Necklace Preppy Jewelry for Women: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Necklaces-Stainless-Paperclip-Necklace-Jewelry/dp/B08XZ444RL/ref=sr_1_81

   Collection Date
   Wed, 19 Apr 2023 11:53:57 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EnGdW6UiNv6oxPUDKF9L8Kn73kn5gMLqKxWrdo0LWsR9LErFYUY5XUgG1q/n1OKzM4Id5BB4uysuzZEvGjUL4zIqrp6ktWEIpZ7lPi1X64ooM9dvBhjMRRLfpc5tp8I4Ilyu6RHmfqP6qthjet9iH4RMlay3XqXyY2FplmXl7UE=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Necklaces-Stainless-Paperclip-Necklace-Jewelry[fs]dp[fs]B08XZ444RL[fs]ref=sr_1_81]]_Wed,-19-Apr-2023-11-53-57-GMT.pdf

   Hash (SHA256)
   a3f0145c28bb157b9d5594356b09b07a7778380ccfa62fc96f89a75f46395363

   Signature (PKCS#1v1.5)
ApLZjtbrfCc2YSQmHcbQnZ+bw97kvWYOdFEpldqZBv5CsUWGP8diR7JEqad3vNUgcVHjiBUeSVb2Cb4mCx/b4qksVRn3HLlBywisZsd6ZAU/aTbSCdvt8KMU9E9IOQyi8OgWDlH4ViAn6M7BxRgD6sOeSg3a5YAVQkeV+QEX/5A=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 2 of 34



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 07:00:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MutkJKI7JmHrnY5fVsSEdUX4cYdU7Q/TCNa8QcmzkCZFonhNz9ff/BtMLIAIbUZuaOgVZGiRt1nXQeMqmFrbS2Q2MUTcuPcidOp4G0W+EFe6Jp0QcgNsxWr54CFJlchldVbzbrki1I/wMkT96kndabT84MeqloL9rZBxNl
   +t7QZdDLb//0aileRc3uPWctBSSxTLAyisj6UG4WBMctk4qnzlvbgT93OsYUihenT5VqMm4tkL8piNEJMloibaQYfZ9pNHcvNfaXPLVzHg3f+nEqrp3kXC5RhqBEGzWqVn5xhMCWRjb0vpSfT9+tDJ4WBM0u/xnd2yM438WfALpDwYZw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-07-00-06-GMT.mhtml

   Hash (SHA256)
   43e5d86effdba6a91ac366fb60c9555a875e309b0eaa8479011725cb5a4aec7a

   Signature (PKCS#1v1.5)
LHHZFcx3YGVBv7shTiTREDR1kkx5d/ts6m8HlC4Sde96HBJq+keVk0+cJHW7SeHBl8NaDysFFHVlDZVCmBODVj/UwUhQ5WG+sqtm3jsrAvaXWJ4YpqZKTrVTfJ+kqXyshZZBTC3CPLsk2KFSFP2UAFf4JHBRx/reqf4ckjXfWON7wd4Xuf6S5kE5HEC9EOBS7vfD7yVI5BMV
+U0Sn3PlXrI67QnRT4AviEtvMUH9Ego6gxMBapgL4gftfYKwP8KZx9c5x4K3t1vxTp/IpzJ3x0qz+lVq80GD1ojsVvlEM1TbptGphLhQdJz9AnMj/dUZ0hPpnoxnpC8sUo41DOulfQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 3 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Winnfy Widely Compatible with iPhone 13 pro Cartoon Graffiti Smiley Case-Silicone Cute Phone Cases, Ultra Thin Aesthetic Phone Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/Winnfy-Compatible-Graffiti-Case-Silicone-Aesthetic/dp/B0B134ZVXQ/ref=sr_1_196

   Collection Date
   Mon, 24 Apr 2023 11:34:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UxEen9Srb6LOKRcOu1bBpbbMh/6QZ5YnL0ZyMn0Al/rfjZahONn7Y/dsQNWzuN+9gQ5S+/u+IQwHeHSuHvwdTTMFyHX/krtl6BlsuwSmtqs6iik9HoM5a1Rf2UQFVxc7F+ZaD2/zjnFX9D1d4ecBDhC/vi3W1y86GjZMVrS7C4c=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Winnfy-Compatible-Graffiti-Case-Silicone-Aesthetic[fs]dp[fs]B0B134ZVXQ[fs]ref=sr_1_196]]_Mon,-24-Apr-2023-11-34-43-GMT.pdf

   Hash (SHA256)
   90fd3047d1636c3368c98849312fcd70898a1132077bcadb8faa3d7a86b7f9ce

   Signature (PKCS#1v1.5)
ra5XO9LgoAcISSiWf9e4LAbzgZTw84fGRbmU/gb2dxFhF7ZtUH/8g44BCOzVwnHNb2IFCpYsn39KSnO51I6i2S96Z6etxCkK4ZwY525p93RhPikr39tLmcnWHosyKMUtBF1C0oQNOrWbhCkW0+p7NEd5FdJJxyM6KooQKrnNgIg=
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 4 of 34



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 00:40:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GDjr9SdIBDnrR9D19c0hE+2IjoNz4PYJkj2QEYtnizCdI0ZFOsb2LvkmlW1AC/KPBmbOSAV6M4a+zt5zJaLDwERs4+0CFi+o+zaf5vUFw/mFDHqpPhKyASYvgr31KoJdfs/JnQAOJgluVMbqDr7NR4ApS91Gl7JTGZDhEZmkeeWjE1Q2PyootWLoLy2Wj2gDbRYnL7nXz/VTa1esQh9el6XFIR8d/
   PHTWovyOHg2bKTCV1e4mTdNDm9BC7QhTsNtaf+mpeDNcvW5G+z+iNObw8s1ameHMD+7MWNzXXAa+9780XJOWDarCcFrXbmN8MBOGsCu8skJq3Q6whJHq/pt/Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-00-40-24-GMT.mhtml

   Hash (SHA256)
   91839f5dac21f860e1ba0c5bbe942488cf06520f5030f23181266c8cd37adb0f

   Signature (PKCS#1v1.5)
At50utvRsB3X5LcqyNvfhLilS+CXEKwugoqOamIpBi/Uj8KK5TOIg9jhyd1C3yqNuZz49m6prgtcnxYvX/OYvFccPa603YCvNuFublvlR5kQg9woSgHpZI3iutpbfk/GSsa2jwS0D65bGOv04o02nnboUr
+EXN2EDByNHOamrO6ts425ed5QBR7hrXp4GO93586tNp16Uc16CiYLvRjGIGYPzphLPNNMpKqnnPyQeYm2KVV7RyI1mhWIuRMzIYvX8ApQM8I/FixOTGbRqSraJ3q30cF8x0RyDfwZald/ev5Ga92Eg2aD4DLZRaDCWWwvib6fVzs7+0fNUtTwwnd7rQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 5 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Tote Bag Satchel Bag Handbag Crossbody Bag Stylish Personalized Tote Bag for Women Outer Space Solar Systern Sun Earth Smiley : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Satchel-Handbag-Crossbody-Stylish-Personalized/dp/B0C2DD2ND5/ref=sr_1_9

   Collection Date
   Fri, 21 Apr 2023 06:08:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gQ/H6CcE++5s9A7BGi2FFkSjMqrSgxQdDyZcY11B+bsjTK4ixOBKhF5qBwBhke933o5Th8n/WsHSlXQxf7U9n+D6UZ2xtXC4Mgb8/TETbtR3etwgPmInvmAvXz5LnGPtwJvYi7Bm/ksZX+ut+Qz55ZZ4bztP6p9GbXGt4JaTsZk=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Satchel-Handbag-Crossbody-Stylish-Personalized[fs]dp[fs]B0C2DD2ND5[fs]ref=sr_1_9]]_Fri,-21-Apr-2023-06-08-54-GMT.pdf

   Hash (SHA256)
   c1de5feb170ad8ecb0285515eb7a14a8548ce8b7be30a5fb109f9ed372ce3ad1

   Signature (PKCS#1v1.5)
bL/WIGmf2gUdKGlyG4dpPTzJEnBRHa6hDIYEcTj8crywWCstLKprRh4H+qoYUzsEsGg0rZTp9VrRvIDG9tguIH2kWIZFEytPRQCjr1PvcAukwa2Xf3HNRNkx95l/aUa9mWNbflApzoD1HGschfthwegO5ETO2dbu/nPCOc98Bgg=
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 6 of 34



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sun, 21 May 2023 23:41:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.111.184

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   h676cZ5IPrxoot5QR1q3gMu3GuTXZWNGlUmxU1jfBjHICJ4iCFaQBStB3rnc6IYAS+o+lv/VlCzQXmjiXInoiB4Y52IaPnitanKLcpNapy2GbuXQTuC9VOi7V9Rfnpb2oTR6Tq19RcbWjF1nsWpn8miMMamt/
   TctUKCrUoVuxEQjxgBo21GkftgYkrnzTEy6qvoVmJmRc4J9U8ABypGPB2bNPPFSzZOK5EjIq252eoOInRNJJNOSvxb96CONEwAzz7bfncGhQG3pvYpK6Ev9YwMNkTcWILSDhZ6sWbTKQrP69EFkMb+Qj3pDt4TxRm9sywUx51I8IuQQed96YFG77Q==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sun,-21-May-2023-23-41-29-GMT.mhtml

   Hash (SHA256)
   129351802d57bdf59882d31f365501be005e9e685a59c15286805b1d04b9a103

   Signature (PKCS#1v1.5)
JDVOe0XOB+J+Fc7M3wDvHWqNMQSr6WrnVDFSLOUvcaF7p8cmQgg7DDmvdm1m8WQtl27puS38eTbh/qBS1kBWkMnNBdLhFqjv38bPj1jpx5DBau76/P5lQMeMl1Ye+ob4HY7HKRrnbjk1eqkK1HZF5RqiSpS5+di1fsWRmi8dMoVpXJ4FhI/tdxVPnG1X/mMWCTeqSDYqR/
oEiCkVKXO743vSwGq9BjEt8jAoOAZ7vNwMZLhbyUCKVd7NODRXov1vy5Plzunah/bqXKxTwTedwXumMhOOYqbo0D/Sqn9WsdwZ5DdCQf3diClPlDvNw5ssxT/sFR2i5QTYyE98LsNeeA==
                                                                                  Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 7 of 34



                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 13Pcs Glitter Smiley Face Embroidered Iron Patches for Kids Teens Adults Sew Patches Shiny Smiley Face Backpack Patches for Jeans, Jacket, Clothing : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Glitter-Embroidered-Patches-Backpack-Clothing/dp/B09MVW35F4/ref=sr_1_12

   Collection Date
   Wed, 26 Apr 2023 07:22:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   M31MaJbTtGIAArBAvaifGWYEcxwbBYiE7yq7GSTDYG6GKVTCxu1iFYDjHeKpvGBe2VnthGA8OGYdx06a+LzLSdHCg1+/sSV9Y/2MBAE+J/XnO36lbjxO8l4bdh/0u+AqItI/HM6qybd2lwVfY8f8eYG5frHqqIxEHMVAXcz+LNg=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Glitter-Embroidered-Patches-Backpack-Clothing[fs]dp[fs]B09MVW35F4[fs]ref=sr_1_12]]_Wed,-26-Apr-2023-07-22-19-GMT.pdf

   Hash (SHA256)
   9e71defcf96aa9674b29ea6f3c1ed9092e698ffffb441235756d374f1427fb61

   Signature (PKCS#1v1.5)
qRkabjfkOPzAnKwVmEB+Rdv11zEFGPq7Nvp9BF9LSCezSxUVte9YAnrv9S+F+1cobwKcdsiADixcvseMgMkID0hjTpb1heR9IZuyCcdr5afAQDSnbrCdGE3drAXx4REuY/nbJYpV/kg/JXOrgG+jtoNNnyVA42NiQ3lnlG83suA=
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 8 of 34



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 03:52:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   l1OHPMAXRl1KMaDYd2y/8tyGFoegrv7B2ATl6T2VOuytAHyiT6+DB8h2WMU3C457X0utvIgy+xC/WunaYsqOdlb7x4qunBW950+8WzpbkYeLhO8uNU4TneE5E9kCh77kUBn7ufWGe2P3U/tJ
   +dqqRMRgAoyZvcVSIX6fjRbmxYpqAdD93i98zOZwIAqVPG0ljf09l4nNT9neJONdIr7oXvcxYqHjO6SJjCm1KIwTzaIhWvwZefHbKDZzYCBc0ydJgDvgBCuSDSMyDGkBQrPRx23kUShYMtDRpHOmXEZK1myFE9OwBgFuA0lJ15bnGY/4O+vgASDgjb7dFCV084zJ1A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-03-52-32-GMT.mhtml

   Hash (SHA256)
   c092555b1b9c44a7fa04a3726c105b2a9065ff415f9b530dc4ebc592459d4bcb

   Signature (PKCS#1v1.5)
haTDNBXi/Vsop4FXj6Yw+c0gahsPgdGmsLHaY/QTGvQIWoMrgN7K9SFB4qSHX1IiHjzjYGac/345j7UhgdHs93WXNlZ06SrtFG1q1NOMfJhiiBeqFDSC1Sjbn+1f311S7p0AY8BxSYR6FWJGG0hkgxHWZFWYwNN4FJnMRePJjyIRkBrShdLCBZQL/
NFBcjXRp52AJ/7vTkFOpXvo0eTYL4Sk5soIPLi0rOPNsQswb+KVNCzycmxHh8UiLkv8BDgmBBCfzcIzx5tS1fcxKlsIpbCafZFug7oVT9PWUuQ8Sr54ko10hABHgy8O0t+QlasDjJn7R1pTc2UJqcXKnTHeaQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 9 of 34



                                                                                                                                                                                                                          Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: JOICEE 300PCS Fruit Smiley Handmade Polymer Clay Beads 15 Styles Flower Letter Beads Soft Beads for Women Girls Jewelry Making DIY Bracelet Necklace Earring Accessories with 4m Crystal Elastic String.

   URL
   https://www.amazon.com/JOICEE-Handmade-Bracelet-Necklace-Accessories/dp/B097D4W3SH/ref=sr_1_15

   Collection Date
   Wed, 14 Jun 2023 10:50:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qXFgfOOzSvr9E4j6NatNTFdIIsYo+5PQqfDcXUnGMR/WrRJzBpHuVfWJ8JifK5L52v6zCGhfNm7wM065jMaepPVqzKVZAD7ev88w3gv5nc9fOUCp3kYg8+H+87SVIiDXKK6PLloFHOJRAgztE859TesYaKfBQ/dKJnKdW6qZoEs=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JOICEE-Handmade-Bracelet-Necklace-Accessories[fs]dp[fs]B097D4W3SH[fs]ref=sr_1_15]]_Wed,-14-Jun-2023-10-50-12-GMT.pdf

   Hash (SHA256)
   6501022cd8dbcc0a5a310c4b021dadfb88ebf1ca4ed5d3b5f36571ca1d8160fd

   Signature (PKCS#1v1.5)
IyKHOJ9ffIm6yN3ZTUjFcRInR0ayaa/tLJHHnuN3iFrqnRZ2ayHOWpErL9DcdwX93TCxfDxLuiDCsjoIPjn7kVNuZHNYRgKfXCbxDouFJJo6f1dpBvKByOE7rt3LoPf4lBYUez8cusjYB8e8ZmfFrInnBaLfbttsv5UGkMRCKDU=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 10 of 34



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 04:33:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U9JS6QnRNO3DG6Y4Tg99cAhxTIwqkDKTFmufd916ohDUfFlouHP0z0asxvGkB92s+JzBJIZVrslDTXNTbRob+l3Wev3PwKsavlnwoUp99YEtjAH+vypoH1M4uRjB1SwMZBqHfwvsmFCl5BujlziNUgQJK6skUguefCoGx3o/cyh+8qmWh1tzQ1qJ/vn49rvMA4+gHgQKHo3xR/3vr/M
   +3XWSvq23Fik56VlV0jvCJkTWL3OekJgjlL/WHA4FRjdMWxmjqdmICFM/8r4olOTEVHyxpXs3UjxxiL7F9Kq38YbUQ+PHmZwdlPjflCCOCk8h0mhQeK2ZWJdPoXX6GJ9pTQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-04-33-03-GMT.mhtml

   Hash (SHA256)
   37fe407a553b65ac2a1b19556b5bfbc2aeebb4fbc7ccf39eb6304ef6f49020cc

   Signature (PKCS#1v1.5)
Lgf1cTl/OmoGpmtFLBxS8aqqZMUke666dLFMF5mYTNzI1xXYQdwS5wMFtu7Uz+h3irCIXXV5IgpJDHQrvWjDqP8r3KWRtcxYH7l2WUWmbKXafSV+a9wNw01XV4EJp4C
+5Vq6iuAzkUW1+7ttY3Nqp/8RR4ArD9CjK8uc9xQdy63nK5UGevHWS0WM5UZN3yZOW8iHdRFSdAVlcRbiCZYUVEedXxOQ8G4n+10zLt01rWBt5CfR/IBFrydOycWb9TLSXZrJ7677hwFTyn4VZOvGW4t3eOobHV5ftQaB6EjN7iJ1yznkB7W3VqciOzeSUEFhS2QlEzFbEvVKM74Pk5JFSw==
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 11 of 34



                                                                                                                                                                                                                     Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: One Happy Dude Birthday Party Decoration Selections Smiley Face Party Supplies 1st Birthday Celebration Party Decors First Birthday Party Idea for Baby Girls and Boys (Selection-B) : Toys & Games

   URL
   https://www.amazon.com/dp/B0C233GB5C

   Collection Date
   Fri, 12 May 2023 10:14:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SOu8QkKtug1q9o/8b4WRSV5jZn+tLzrNZF0Qfo2de5n1+xJRc9f+p8uGVLY1HIq4+fJd79YrJTJNYb8zhzRofoVWv+KjHs7O0lBSStfE43P2av7xNQvKxWbLPv3czJ9mPMyw4RAlbX3oEJuvNVNVQRV27KV2L/jiqzYtTeaXJe7s5rsKG/gGDrn4OoUbCtHG5L
   +8pjhPJTJ4xc7xflyKbN7kJaHmhLaB5oDTzUN0cEcvCeF0T5tzYztWZWTJT4G+I/zqSsKLy4oXfdBoZN5x/OQLJ7a5pMEyubls2tWDD0oB8lv1UtUOjuyrvXWjNAwTnMcXeWH4e2tHvGk2a2kNTQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0C233GB5C]]_Fri,-12-May-2023-10-14-42-GMT.mhtml

   Hash (SHA256)
   114abf50ebe4bad0d3907701e04578f458fdbb5c3d0ce4773da3f6e48bdc523e

   Signature (PKCS#1v1.5)
ZiNtBPG8djFjEdOju+8X+lUUDxj4HqesOI6DH6XSx4+rrb2DLt29irHyChhUr0+4scPI0Gjal3OPQ5h10iWLw4MtnvXfOL9E2hEYOoXnjP2U96PGVfeX3X8QB+Rx6+PNfufL3jh8DVD2ckEb5bN7Z/HqWemZyKZSOsvPXXKLJ3vSOWTcyoJSuftRAUMniWnin9/2wpaq0ce+xG6cFsfEC/tz4669FL15MBu/
pHxHpOhlqlW6o0hDUsSn++auP/d3XdqPEXWwzUBkqBUuloPglr8IC/O5HRZuV3wpyVx499eDSKrO2zzv2F3ZnriAWIXlyAdBxGnNLX/jIfug9BhHIg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 12 of 34



                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 10:20:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mkJeaJGQVHLwWG9oQBpiIgp32jgWWFBmi6pCToc9Z0BkRNzKjDFojjIApjKnqKBehg1xMJbCOcjMgU2UKBaTXvNsyy4C0TX59c6zMFVBlQD0jWPyc0HHE1a+b/G1M7N9uwsXzgtHoQCKQ2o6mdWo6vfmYK1mqWSU5Nksm/jTNco9n1Nj/jFhRc/
   C7Ags8ZOtFq3ngBPBzmCSZgG5YdwIFnVVGnV+2rej9TRRXYbMI/DcfeLZaZdIJP7AIGVesSuEhpLAkPTSvVo85EH9czkPC5vMJE5etUiJUuBlXRblNc24mdl0OEQANf6Vpado38Vd0QX8gEOyv1XXvwbEBFyrwQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-10-20-12-GMT.mhtml

   Hash (SHA256)
   adeef385ac4f6000e55e866db11653fd93d2139f61fefb1c0650318dd43ca7c3

   Signature (PKCS#1v1.5)
bI96nAH7ieq16uEtqufUB3FzEbiSDLIBZAE7Ccr9IdukyGZYEvicQ9Y4Kel3zzCqI+5rGmt5x2mekRjWGsqHRmnjyGiUXbmJg40uOCldXqB1B9GO7nL4tqt+MRz2WfK2irMCBuj0LNF2Nb/Xx/f8QBOJ6igHmdpMZznVE5BcO3BSwZ11ttHF6JYod1m/
Cvzafrvk73VyaZHaVpqUgepXNDJV5aVBfaYvs/3Xv0XqGH7Lir53YmdZgSARL6RrvpZH+p2APxMNGCDasMEFXv7i6Kfc0A7ZQdbLqyiKQXGTtz8kckchGcTJ89YhrtdpM33pGw1k4646ZNsryCUCyrksiw==
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 13 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Stickers 1800Pieces, Happy Face Stickers 1in/2.5cm, Small Stickers for Kids Reward Chart (8 Colors) : Office Products

   URL
   https://www.amazon.com/Smiley-Stickers-1800Pieces-Reward-Colors/dp/B0BD6VN4X8/ref=sr_1_6

   Collection Date
   Thu, 20 Apr 2023 07:21:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Xz989gXV2iIk4M60unTyIg7RtlX6+Olo4KG6ft82iuQ3cMl0yfyAERgDfFIVR4EYj9FK1642DJhRPVpABh+qiVKEoP+jM0DwomHmDIadFPTC4EglV1ucUVayoK1HuHp5R2G6EquR7frdEvH+YWLxyyaFB+llh5YTM2OSuMYtHBM=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Stickers-1800Pieces-Reward-Colors[fs]dp[fs]B0BD6VN4X8[fs]ref=sr_1_6]]_Thu,-20-Apr-2023-07-21-01-GMT.pdf

   Hash (SHA256)
   e2f932641edbf0ade9024e48e9525e3da7c6db124670c47c532286af5da1d74f

   Signature (PKCS#1v1.5)
Ri8iDdutPr+hwBO3oaA024fReiMDw2efy6RqcW301HZMZ7zlUfSmwEduYlGtHg5pzYI8FnhF5LBdNsiPej/PCLuSlhVg5IFze6iJIVTnc+Q3xDImKAdYGyQSz1ndG6GNWWwXakLJLvq0tqpM4RAvJ0V9gdijm0Oik1WBZhsr3Co=
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 14 of 34



                                                                                                                                                                                                           Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 01:17:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hiJvnYAfznJxUL4ptkPVGzCDmc+HloSy/5X7uJh/9xG1mtlz4KF5gvvPRId4M5xSY2IJuY5jekquSxZ+M2ib9QENELs7KwfKwWN0ZTukycq4AXWNpSkA7iHiMdy9vF1lhhtAbgIsGKgca6GhQ61ImyIc8V4pJUI7h6WgUOHRFlLF4dAQ6Q53T7mR71S4wQGXHUOgT
   +tjfg0ll2dpLaYs1A/0dDX5oDjgjinA7WiWEh6W2LZ3Aax7cdpPIGFBm6K36CR/OGytzGwruLooJZG7Sgm23HOQ7SQHYq5Bgt1omh44tROD33kanQU1SJgMFMGSOa51aQ3D/7r49F5kptYEaA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-01-17-47-GMT.mhtml

   Hash (SHA256)
   ffb5646c34e767ec2006cc298d6261ed80942f399315008075ec89119c91ed8a

   Signature (PKCS#1v1.5)
Pf45FPTUlt/HcTMV1FMguvxVO4iVzAe9TSfDeZu66ONGAlohvK6/Nm/erwwrm+6C8VgeMG8GigVtlLBXC0AjHXdUa3FGktATD+DBCq839gqrk1MeC2Y6oAL6pSlsIU9fDslfN+TDR0nyuvQhEZp+Afy4iiH4bbE+bhvu8IhJc8wbmYhJkAvIsFFuWp/
uMw9YUr1hML2Y07vIYzeznUEJQWCGStm3VJB8mHB6sRL3hubWbIGQZ57kR2/l0IhAjYuZhqHDCZDvrZ9ud9/qjg2QMfRF4I+Bzvu7/WtwujItO7otIigrZw2TwHAwUu53/6numL6SMLAmyBhMkAhF094JGg==
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 15 of 34



                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 00:40:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   goncVrbhDCs0zFKQcGVA1SSNjiOL8bw3CsVuLJdqEnib1Vys3Yi+IzrT/
   yOJYP48zlW7LuPfd113IXXeENMF7MaresXPSNs3vFFw3iZER7gPHOlr92vFWF02h5rtrrSjQ62Fu8wsvng5DpC8MZEaqoz4XJJTNEGSEsz118OdD0rlcnvJtRbXsxUQmQxPfrEcgdb3fFxFLOip2h9pA0nwYCBLIeUrwthKapi6w
   +D5rGaUWh5kpX36r2T1KnyEw2TgkTmw5WBThiyH3P0iWdbqV4iXy/8FybOA+D9RJDSLkZTDWecF5f3l/CRAWvSYcQWAopKe5d776kxRfAbCl8vzPg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-00-40-22-GMT.mhtml

   Hash (SHA256)
   d08b0697b2e23d49da12ead0601e1569322e3055b661e1e01deaacfdf86f9c5a

   Signature (PKCS#1v1.5)
S/8/I+l5uEAURPl/ZB4SG7pwyTJ0HqZXQts4J/VUFKJaC/FtizRS97ulpuSxZVa3+Y1KwZnQ4Bd9w0tsEs6tyYaHTktRw1MZERmBSpNr7P2mEjWAReYiN5cs7DRdlubdXrve+gbX6RguDHjIRzjKekD1TRe2YHcXELUA7wkv72bF0Qwl
+8CUwYfcAfWR6g7pRi5PtJvTAmPHj6rdruJtvPTT5fJDFtwdsUQzggZTSQapUWDjtjtSG+ZL+TYn1ZDPItgVgAz2bTkzvahKuo+8RllLaQht1fDfsfzi1l0OnFJyQ3ImcXlI+kM6pvptapiI7e+W8BDcOAqLQeS6B00vfA==
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 16 of 34



                                                                                                                                                                                                                                                    Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Jusy [4 in 1] Compatible with iPhone 11 Case Clear, Cute Smiley Face Phone Case for Women Girls with Screen Protector + Camera Cover + Phone Charm, White Aesthetic Happy Smile Cartoon Case for Girls : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B09TVXPQH6

   Collection Date
   Tue, 30 May 2023 06:26:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   M2iYftgyxvZRuegX0t5YRKziIQTHjaB9YYpCvGxg1aL4w37yj8o9yDrGpzjtFppXa0XiOeFCEvmJal++erKwq/P52HBoW6o/Q8Xpck36tXl9FWGlnupNrGigqlBvC0pJyRkPKnKkSu3A5NiKFgyzhHYUucCXookyhr5JEWIKy0wLrYbL1WdCY4VjWIuM9GCrAE7XSaVO2OlY8+83/
   Fqyu/96rC09RI1f3gd5t1btvNQRiXaFIxB+/9VRGxEzpG+TkkLdWM43cxXozTZxeuUmZNX98TkOzU/KLX47XrbrGmKktm0Sbd+bok2rxwMy+KJkHmTz3LamCtWUa9vpiq2Osw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09TVXPQH6]]_Tue,-30-May-2023-06-26-05-GMT.mhtml

   Hash (SHA256)
   b4f458aed03fc5b5b7d0e07334bd808510eeecbae04655de0393a2538979b32d

   Signature (PKCS#1v1.5)
Pvw5Dz7tCLA6PPA2qZVQZA6O8Z06Ns42mQA8cy+Cy6kxgxnAZtGAFpMGF/d/gPY
+FmgTUoxnlNipcljjWoW2v5ydh6ywhlYBldQetHr70BJQ5xpGsJURV2B6aKOqSdecCTFVTysAeqXjGlFBoFkfwJxakYYTU7k4qG46uLWDAwRcqkM8Uk7WH8869R5bJMhKJchow5S20eQxcB13JAG5THuA3iZ7dS67OH+p/liJP5YNHePHKQJrCLj+1ZGSANnfnpxVIcFlgnvsLnr18mb7FrYfZ/
Xa7efmXgHZ0PKwppkRZ8Dggd6XfhzwwMZfIee5gyePNjogTfpxHzIbSIXylQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 17 of 34



                                                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 300 Pieces Smiley Face Beads for Jewelry Making,10mm Colorful Crystal Happy Face Beads,Acrylic Smiley Face Charms,Face Beads Spacer Beads with Elastic String,for DIY Bracelets Necklace etc : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Jewelry-Colorful-Crystal-Bracelets-Necklace/dp/B098QM2SH7/ref=sr_1_77

   Collection Date
   Wed, 14 Jun 2023 11:18:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b74BFBEo5b/y8AmvqrsFnBo1Lnd+7ALjWzH8T0no6CaNOL3bM/MyjuV+FnGL4+fRbiOzrLSjN+8kGsMUHTrUwOrK6UVjbYi+GlxAeQw9xEXZjyq/vpPikZj9B6lxAsWELw9i2yNgpX/AbM467HNExbwvRtYIHqBm1a75svrd478=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Jewelry-Colorful-Crystal-Bracelets-Necklace[fs]dp[fs]B098QM2SH7[fs]ref=sr_1_77]]_Wed,-14-Jun-2023-11-18-13-GMT.pdf

   Hash (SHA256)
   964e452dc58b3220293df17b7881456c0ca3d62a2966e596332b401431f4fd38

   Signature (PKCS#1v1.5)
ilYqWmPYZS9w1QIp5PvGQR0DCPzH/X1zTnrhnID6Pnql3MEoXH0MD8oLBBqrz1sDJazVt1IBQCfVewFxfrZ9uCd/+ITPJVECFwjcPMVzG/4widtd7A8Xvub8/99rLUhreLZHxL6DkqWr3OHG9YiSvhCbJ+w6xHwv7XgJhu3L/Yk=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 18 of 34



                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 09:59:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iWduu8qCmerc1KQ3G/O/hJxOigpBHkT2b6ov036nkzUkZEkMJXZIuU78cxCLsILh2keIQAVhJA2xJCDnhFgDEK/Zhl+Wi8k2HZzK1S3YivGRjKG82klVxcOUGIEKOOGFe5D8RGSE4s6dpX1LankIMYytisEKwpByS6fhQvm
   +q90ZhhGW522eMwDZzjcOQbh74vVwtkeB2EFfd9mYpR1LlHgXrWKq9L91ZBT4e9LFEMWr8wkspspRf3AOMl3Qoiz54ZqfMlr88A6aPFHtjlswCC3sRTZz9SCzW0ps9LcLTKeOeQoWBKuMelWJl17vs7pf39fAtGgMQUrHY2fwY8J+SA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-09-59-01-GMT.mhtml

   Hash (SHA256)
   4c67363ee36073a04ddcabbcfc8fae55cb8af32e0edf1abcc8484cae83352fa9

   Signature (PKCS#1v1.5)
Ih5+dSD54s+/0FIoHhD5GivVNsJaD5m5lCMsBT4leM5y8czbK79u/vCYHdRNVujjVQ9cHOWdlcAePtx3k/7fPw3MVbdo9AqDAhZIKuC/64YqYHjdYuuE8mhFNwCitrBEIZ91JPJzUcU36N8kDTVtjbbYY8qfmpjca9l2emQHgchGt2Ag4lMjqA
+FNDhLkrwkjlYmrd00iGQ2JSPkXTJ9NQ3hrF1jzc1OWzC5U5UM0moN9gG0KYRiNYRDn7ld/DKSuWZWZ5A3RRWlMCjLfaUMWBp/GAdb3MXrMsDk5mYcXiIf+0rM19V/BwdSlzWUiyNE5hPNBjPYnL5B8U+OgFiVZg==
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 19 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 6 Pcs Glitter Smiley Face Embroidered Patches Self-Adhesive Sew On Applique Patch for Clothes Hat Backpack Bottle 2.2" (Gold)

   URL
   https://www.amazon.com/Glitter-Embroidered-Self-Adhesive-Applique-Backpack/dp/B09DKXZCPF/ref=sr_1_78

   Collection Date
   Wed, 26 Apr 2023 07:35:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   V+lrO6cTmdeKTudqdqYDDVU19JwhG8ue3kosHgPBC2vVGCPixMHYwJOul1Ds3QVpGmBSYAR2mZY3Ae9yNTqiZ9rmVVCsurnTBkWwjOarXX2D/w5n1dWbvXVh1Vcvv8O3cJvuU5fetTV7CwBig3c/rdD6tT36kaFX//mcog7kn+o=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Glitter-Embroidered-Self-Adhesive-Applique-Backpack[fs]dp[fs]B09DKXZCPF[fs]ref=sr_1_78]]_Wed,-26-Apr-2023-07-35-18-GMT.pdf

   Hash (SHA256)
   d1925a408df05ebfd3f0f15e90573578f50b631ff4fbf6bafea0c01bd7a12759

   Signature (PKCS#1v1.5)
XWRFn6o9w8fQ+H70AcyHyRjs/7q1XH96B3LlrfIWaLQtGwE7tKwdSJF5CaA29SoOt2nVaxm0oqQlU8hsAvlSv/G3GeqijZ/gl8BuZJmPcb/eGKpV7fQSG9q7F1TYalsf3vW0Rl/iv0l1rY2GLv6qrEhZjATv+HOBbSDtgij+iyE=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 20 of 34



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 09:51:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   W/rZAZqpKBhiiEEE9mbyTqjf5ibQ4oWKpDNfbMxUHlpdASDOahUybqI61dxcHkCbA8KWL1fo8DPPBA0OWE63NiWpSYZwcREuWeOeZUnB8o5P//7in54+AB5o2jiZ1I1pXN6eblvuWOJDFy863Hvww0X4ftV3WN+M/0J6hAMW8WwfJSv+HIuLDJaZ1Ol/fmXudRXhk7fpUJgbCh5eu/
   vCQOVRWAlkqo9nUA43X5LsJABQsxDqlLUS/icL+DKquvXOAzOHuy5ie2RM1m+NjcNRcD4nDlDJku0fmpsMU4HlHCWwKLSZMmLjV3hYSMgZy3Dp8PO0Nc0v8ti0LMpJGd3QTQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-09-51-56-GMT.mhtml

   Hash (SHA256)
   85f98c06ab728477975cb6d57695a94282ab2dc18157645b37d47e17c2feb8b7

   Signature (PKCS#1v1.5)
KsPb3zdMZBdwH/7ei0WLc/K9KlrxE3gAXNAVM2GQF6RUkyum7pe9SIChcsz272Ep7AA6APTbajK1xGq75M3hAZdZ48aPbvbg4HwXb8wiqywaogJzbHWr62weFNixqmK1zewax25pBBG7yxmd+c/2AQlLZ+k/
XAspSSoJ3NTWSkBcuN6COAJ7fau7jKoSBYZbwPUFv0ug2RyVcj7sIID1+19tQ4GbFG6FFjVq4Ysr4BieAa3bNHG2JtL2nfJBhOFmUvjw4hcWu0324r071EBPQMpoXxwa+OYDhtK0GT9+YM6PhXchY0+whNmPvJ5+wQ+l5/YcwqbRR860cwfB97oJWQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 21 of 34



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 12PCS Smiley Face Patch Flower Embroidered Patches for Backpacks Rainbow Sunflower Smiley Face Patches Supplies Clothing Cap Jacket T-Shirt for Bag Decor DIY Arts Crafts Sew Decoration

   URL
   https://www.amazon.com/Embroidered-Backpacks-Sunflower-Supplies-Decoration/dp/B09LHD6RL1/ref=sr_1_59

   Collection Date
   Wed, 26 Apr 2023 07:28:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dh3fdxwLuCkJcQUh1b/bu1hA+08OFryS/iIJ/DPVGFV//6Lyml/1umoSicPx4j2Jg8jnkxBDcqHUJpXiz+7+m9djBi3VyNnwpk/ozxoGO7xbLuByV5KLn82A75mcVyWGNiN9fghIA0m281yXav9QEuB+NiibCA9RxSIFFbJlwqI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Embroidered-Backpacks-Sunflower-Supplies-Decoration[fs]dp[fs]B09LHD6RL1[fs]ref=sr_1_59]]_Wed,-26-Apr-2023-07-28-35-GMT.pdf

   Hash (SHA256)
   aa42b06180bc72930c37094c9b68af7e0bb645f2b65686ead42146b33bd5f9af

   Signature (PKCS#1v1.5)
lwMke75C0wnuav/ilpPfQXt4NaLqonXIkufH4glr7WMstVZ36xukt3bqcnynUGmXcqdEW8GpfH9pmsorAVdZwCgtkl9lFvkEGtEAmo3bpRHUzbnfsbJNsX4uZwJpNEy+5QTspWYCFsRjxV1+ciggA223JCMe8V58yZsvr2x6qMI=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 22 of 34



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 06:53:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kskDAmclHKn/JPflIvKqmiQY70Zm+c3uDzX4sRy4Vwc0ZaY/LQfH8NEfzVfQSkk7zoCQjckJKJMfsXrUKWqAUCWxXr1kqacvv77JGRX2V76lxZJXo/7qcRAsi//H1mTfXcTcvPglD2EYrhZXoQQw99k3CxHqKA7f8N9svMmPTVI+Wk6oPNBzR6x+2A9wabLsdYjvKNwEylyyIxJ31zOZS6xH
   +hymIRDk1Yn0SRIUIaxMy2gqndZFqGOeHjdZm0YPfQRgtnx5tlrA8Y/8tYXJtoyFbNrosrpBB7eKQnqKllC5GdFu+xAlGsDqxMv0NOcAKmBBzFSYyW5zIKLPtwzWEA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-06-53-24-GMT.mhtml

   Hash (SHA256)
   64ca22cac1cf440ed2313c68ac3ea24c5b2fee6615babeaca12978d9031ae699

   Signature (PKCS#1v1.5)
qsnWJMHCCsWHhYwNfGMxztyB00nJJjY+84k34nWV3XPK5esixP81iX0HbSk9/USdOSS7FEfsosK4/Vql6RE3nBvHht40lvnX2mEXZFS2nr5kQIBi/LzgwGLDNTyoTGQEF1B4OdhC0vLQHby3wAqn30QfbA/+GICTqXGT
+RcSPGHJJKiAjjBLuYWV0vhF1zyS8tLg1giSEzPQNrAdgy5kaTMFzoI4Quwk0EXRB7jpUVVpt/ODkf84VHw2TkBQls7Ahfwf7ti24gw7KzhRqPUAbZK5TWfRcHNdgGu5IsUyIEk/0t7XW26NKmuTZpi+Zwn7qL52vdq/chwkYmgvaT1bQw==
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 23 of 34



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: KaFu Cute Flower Smiley Face Dangling Earrings Lightweight Acrylic sunflower Drop Dangle Earrings for Women Girls Jewelry Gifts (purple): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/KaFu-Dangling-Earrings-Lightweight-sunflower/dp/B0B3VMLKKP/ref=sr_1_160

   Collection Date
   Thu, 20 Apr 2023 05:06:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iDV1tPqQOisLldAUKeHUM2SqDPyHvK10T1SXBqTpE3mrSB6fLKexQ5c7Tb/jG7Y3rl1LZsA01OPwi4aO87MNUt0uV1B1AhHTEEQNCG3LphsYzpCd+enBWhobes2cO7vOmt9VW+9hxgulkvKO9nTQe8K8z++o25MiRXX/iJFE64Y=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]KaFu-Dangling-Earrings-Lightweight-sunflower[fs]dp[fs]B0B3VMLKKP[fs]ref=sr_1_160]]_Thu,-20-Apr-2023-05-06-41-GMT.pdf

   Hash (SHA256)
   750de105abf892d2fa8cc18261e474919d708450c82e390abc09272bf3feef1d

   Signature (PKCS#1v1.5)
UkQWbGSTQo5cGgzDgBN19wNUCLXaiBYg7h0vgDKniRFfQ0iKk9j6HenbEA6xCRGmQmZc4iaDDdCep7iKPo2OaAH8DLziFw4wd85BjLZhna582oAu+ryx2F02ytI7g1AH5dWNyrIvHKAQAOMDQac0mSBZ91LvuPxnZ+F7TFp7ZOI=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 24 of 34



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 11:06:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   m/uOV9guRkLe5TU4OCgE19usYupopOvMCHt1dKb67yQz7MDK62X54sQJPEicgn6TcHTL28rFqlcn4j7ClxzTSDN/tp7PzzcYpynv75uiW0BLq1q/oG/O/EzBdM8Bw2ZACh2P+PFb/hSEtx1EWl1wNUY4qt5DMQL6xE6r1PGw5l/AYNTVzfxd/jgS0cZSC20W4eHxiyVIi7x0W2Ydkv/aWjgg
   +zFjwzLpocnTklevoBh9gKd8A4hByb6bFtJ2t29/tp6iNyvDeaZRvdIhQ2J2c5YRxadUl2L5H8VBQJXu4m3uCBuC4PRj3vJzAcGEvGz2c8a4cGxrCz/JKisJC21AQQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-11-06-58-GMT.mhtml

   Hash (SHA256)
   8a05efa0d20a4b529dab3f7e20fe26b6ae1e9c66dbffe12c47fb0f0b5aa813c1

   Signature (PKCS#1v1.5)
WKxjXlOuGGqI0PmyWbrcVJ2ZNvK5w/qiTfXw1BoRAzX8+9DCbxxALzDjy9FXBurfw7NX7pN9MILNGreIhiKCTmq8pClPI29dcEr/1gZ682hNTMQN+M0aickLdKEaNVvo1P3P1c5IH66E+t4jdm3NyAlAclEaizcugxYAQ
+fF6zrDyDDRTwZ65JFukNj2aHQAYhAJRfKjcHYACcpqdrUGb2AwCy3+Mbd0kXUXAVTPEZgWawsHGMknCS5gU64HWe+Y19tjUsF2YaoXG0LgVRLwWalsHmQNnOXPH15GhA09VTRKup+ahxdPtkA3/4ryWWIlAWk24twTVbPXMuWvnAhgSQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 25 of 34



                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: RALEAVO Compatible with Samsung Galaxy A52 5G Case,Liquid Silicone Phone Case,Cute Funny Smiley Face Case Cover,Soft Gel Rubber Slim Cover Anti-Scratch Shock Protection Case-Black : Cell Phones & Accessories

   URL
   https://www.amazon.com/RALEAVO-Samsung-Galaxy-A52-Anti-Scratch/dp/B0BLNNYHL9/ref=sr_1_92

   Collection Date
   Mon, 24 Apr 2023 10:51:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Q8SEK0H6T14XQHueHPXGa5WyhPBrQeIqqE7Go8n2bodkUBuNitoNfmMlFPJA5oLGhE+32SLMsfWx+q2/v+kc+CnSEPZH2iLhGXZRKEiIBYQYKk7xUIeRW1DUWGUDUq6PKffupl4hpIcYvn9dFMRcGbBm+2FI41cNKqvr+0vG3BQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]RALEAVO-Samsung-Galaxy-A52-Anti-Scratch[fs]dp[fs]B0BLNNYHL9[fs]ref=sr_1_92]]_Mon,-24-Apr-2023-10-51-00-GMT.pdf

   Hash (SHA256)
   872d38e994f1cbda5705bc24901fffb57608ae6e60941b79abf02ef3f6cea932

   Signature (PKCS#1v1.5)
eM/UM1Sr1aFdeUiMUottH8h6jVu5qY+V8rppExanLSxf+us5kXVJxO0DT49qRn1cS0dzpFOmEHt/kENu7q2SBypGNGckd78Td0ZgkGNWTve2xRU1pyyiqpnvbDBe+NRLTNCcfFclRc7/D3ztMGov/tWkIE1dRdmS9O9E7bG0/YI=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 26 of 34



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 11:41:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   a+4KQxDd42QaqYeMo+VwaDxwlycMQOk7OZUv0TIK6/Rm/BhtK2NTCKwy7dPWOcspIOD4oQy4+zSB2CzzZ4NPF8AQNLp5ird5d+SCjg5W4ZpDixZoPF/1jBjaA93QFhzn5xHiW07LmjpQp2fIE3hgp+XEYFDkh6EKxDIEq49aCDBYfaAIJh8nP/qoufdz2Pdc
   +/7TYkAmFkokMaSm9uG8XBPDGJVgo5VGP+f5LKuIwcPg+4qn7pisBc0sPggP4QatDgQjNdKpUoiF4TdpfCS+AJh6kKplJBXlj+DSLtLtGirR1vJxdIntGElhts1X4/wIiQkrdIb1uC/WAx+VM4il/w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-11-41-37-GMT.mhtml

   Hash (SHA256)
   3f9f22b9c2b8f02233aad8f2facaa32e34d54304520891cd6f23da8504685fa9

   Signature (PKCS#1v1.5)
GGlGZlw9EwIsTtXZT9fdw5XYzGUZCy1wBCyJ/yr/h7ADPAHkTlDDXRfOVeZySk4jKKBuai00iR4RBoHIFknUHgEQUn61PxM3Tw4k1U9eTgUyQtq+IGuYVkqSBJHTeNUV8O5LCsbM+fM9az1PiCRVdxjyMf9WnappLlh72GUpJfGkNXiOx1Yw7HdFXeSeYtIzobmeZqSaIRv3/
TT5SbCaaqLWsTXrdupJhZrw97OEO1g4XdBg60zEDdauoMmpB81hR/hB5zHDiwkqquRGPdx+dQkycMiVRbvRmNU7FBMKkqO9rKqBK7TOPtofeAI40hZYSa8yI8iMaQG8Ygk2W5X8UQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 27 of 34



                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Flowers Smiley Case Compatible with iPhone 12 Pro, Retro 70s Smile Flower Case for Men Women,Transparent Soft TPU Bumper Case for iPhone 12 Pro : Cell Phones & Accessories

   URL
   https://www.amazon.com/Flowers-Smiley-Compatible-iPhone-Transparent/dp/B0BBD8D6Q3/ref=sr_1_186

   Collection Date
   Mon, 24 Apr 2023 11:32:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E5crjBCC7E6T0NP3JlzV8yi/kUwqPi3Yrj3j5rZ2NttZB93ZSuGRvTmlh1g5aDAGPyyRQLTPrtI7WM0RH27j8tA2pWI9l14IdRYSB39s751GA9NnOdr8HstcNO52BbcVG4VElA5/bdzPQYdk3qHzuJUQq/0vLVdZ6ZzP7d1LMno=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Flowers-Smiley-Compatible-iPhone-Transparent[fs]dp[fs]B0BBD8D6Q3[fs]ref=sr_1_186]]_Mon,-24-Apr-2023-11-32-09-GMT.pdf

   Hash (SHA256)
   5d50bca4b419b5ccda1c48271c3898330417c082ed5923835d00417f934b7a19

   Signature (PKCS#1v1.5)
Q6mGFFIhDfm7L0GqWknXVHKtdHLr4ec02Cb57hcxYW1+mwvWFjmTVu/MmgF80+UIhNcsOgTZYzZmRI98PKUEG28R5+Ef4BOxqd2USMJHmFmtNQo0wqGGrKyLEDnSRXL6QYeNBKf2fpZvnrAStIelGJ1mfA/Uxy41GGcz9ymhx2k=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 28 of 34



                                                                                                                                                                                                         Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 00:28:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   s4EroJso34ItEp2gYaLGeMeABn5niPdHlkLyZqMGeSTREQYG54JsOaUSyo3YGB3mJd5yYdDvektheY9wPKfz/eFEWmqZXWwJl4Pa7ighrT1MsQUvBX2DtGvRKL4uljVgoOIYdMe5m36kj
   +6fiCwDC6Dx4wH7oh2rKhRSXp9fQHFlHzg0kI1YipPu4aW1DUOkLrWQ3mGoxKL4Yvmr58A0hepoKHCGgg3HRLCON5Js8wG0xgEcnnDXHuCealugAsaXLRkxRuRAaZNe1b0OZ0mYpyKif6OxiXL8YZsP4Zbkpa7z5a6DtHwAeONNIfwHcMAZiDjltYYeU7ey6vWT/Iu9tw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-00-28-06-GMT.mhtml

   Hash (SHA256)
   7314f365e6bb24d57d1578e2d3b2d50f7a9ce239d9c23baf54cd47b2ceb592cd

   Signature (PKCS#1v1.5)
invEfcAi8RwHFR3G3shTjWjGSLbDeDoxteTDEuDTaQ29W67YSGbWI5DVClDQj1DFXBfzKHE1yUUuptTLmS8FMFkV1YKCpB844ecFF8aBRVynwviVwMuPBEq4xNFfe71o6RRNtb5Eeb
+IVq3Vd3ua3CrnFzpm3uvvQvQFHilqwWU8NoCIpEh4tINJn4TH0+vWO1SIGVF3jLv9oP2HOF6MHCMYEnwceSAQEryGbiL6+WFNlUtU5/x6IotR796DKwAHN8dRJ8/JG7IrSVeW9z9iSxa3mJFVjOs3ygg5YaqVgRKDQCQ93Y/HdUpR6Imn7JPHM9nG4+z2NoyQwOub3Vozzg==
                                                                                   Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 29 of 34



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Smiley Flower Shirt, Cute Smiley Shirt, Vintage Retro Happy Shirt, Retro Smile Face Shirt, Happy Face Shirt - Navy/XX-Large : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Flower-Shirt-Vintage-Retro/dp/B09WDKFQBL/ref=sr_1_28_sspa

   Collection Date
   Wed, 19 Apr 2023 11:31:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   goamw2tBmTkPXzFq++MmJhHqm7OYidJ3p3lMv2at5ZTJX2bp8L5HX8REWFlRFFqRViliqTz4Po9oRxhigWs6wLuD1fQao92i5tb0K7S0Yiofl4Bjd5iTdlfNlPvZv0CuVkxbKsf+NKwTgL8/CebelM7c5AlQxoqnBkzkiWLIqMc=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Flower-Shirt-Vintage-Retro[fs]dp[fs]B09WDKFQBL[fs]ref=sr_1_28_sspa]]_Wed,-19-Apr-2023-11-31-52-GMT.pdf

   Hash (SHA256)
   7ba37599526694c83fbd287eefd8d32e6d4f473eff5f88f2d6dc2abea7a1f58f

   Signature (PKCS#1v1.5)
MTamZ4K4HNF3JIKUiHWWus/ZJPArbBtIgfSix7QFbNe0VT6ZmCBT3157ugALbYw0gRtTGN0uWI2CvbxZAkGFXXxGObgqxqzhOz1YE3sdbDx+beVetkcEe1b5yIQwsaYInOQmOkIpjNC6rDhuad1WrkX3kxpQRL3SlrBg52C3eGc=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 30 of 34



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 09:31:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fVQck3+tspiww0UcRJBWwPiXmirCowZDI9VAuAlB5OIefxAo8gWx+Rsc0lo+qh+YA7sQZFJV31VbC2XXSIOX3WWJxBzX70k6Yj38IbFd0XcNsKte/rYL7QLEbYX0+Hc8sSS/OsB14B4sCprqdF+jWmIb3qWKG9wx2z/j/C9TS0y7DMve61w1/60KKJBAVtyDQqLwyoU3QYcyBWkcOwO4ue6b
   +aZmt4hCQRuz7zUwXA7B1smskbs9NFOPuQQVUG9f94xL9HUn6uNAPn8lBGhIs/VxZoImXecyua3yBoMnmWrhR034SDZrs5ebcfsAs1XpeDCD34PCxakursyh1vYz+w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-09-31-40-GMT.mhtml

   Hash (SHA256)
   89e76dede1779d8cad535955fd929effbfcc187c673af03cc1cf4fbc53c94bfc

   Signature (PKCS#1v1.5)
GvqgKmqhRtqWOUThlhC0KDZLQPCzoKXHbbXk94mc8AwTQI4ik06zT8J/SOyHfSrTIO59Y0zwF2+JH8iamYts4ROy7HinFXnA00n+QVA3yWDzga41alkH7dVAH0VmpoVO0l2Ojd1gbd7682cgN6JUetoIQX9e6Ro6RAW2Omja5KEMRXUgXXJCaP8+JXwK9wN7Hxtxatj2YHGt/
clysUtxxANYuqB53UUWfcDZUu12TExzLbvkMiGQCEoNrHd1q/ca8/1fmIB9fJYLwI0nsfZgd3doAeXOhBTRMZOxextF1Oo6zxvxrd2t1MZrSBcxcNQd/Z6n4o9ilcyAPVF+q/WhQQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 31 of 34



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                                                                               Evidence Collection Report
   Page Title
   Amazon.com: KatchOn, Large Smiley Face Graduation Balloons - 28 Inch, Pack Of 3 | Black and Gold Grad Balloons for Graduation Decorations Class of 2023 | Preschool Graduation Balloons for Graduation Party Decor : Toys & Games

   URL
   https://www.amazon.com/Graduation-Emoji-Balloons-Decorations-Gradution/dp/B07PC3FVQQ/ref=sr_1_37

   Collection Date
   Tue, 09 May 2023 10:12:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MkjzaaxD9GMMOolw7MzAtOyEXbCvqZCDD92bnXjxaqC38lT/Xr/4sGziVurz4WyMjW6UpzzCqGGk4L6T+8vItvUUYBCdnnZ74irGeiP/E2WJvbJUq1aPPU9smYjQIkL+fSDDdsPk6ye9hJhOhS5XCBBrJYL8/xdlfoKFoo4yQz8=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Graduation-Emoji-Balloons-Decorations-Gradution[fs]dp[fs]B07PC3FVQQ[fs]ref=sr_1_37]]_Tue,-09-May-2023-10-12-54-GMT.pdf

   Hash (SHA256)
   3a3488449021ee62f2848b2b55dd50f614b70ea86eaf6e1faef18239967e7987

   Signature (PKCS#1v1.5)
d1dlY0SET/JAXLeVb/8JcyFWuS5xfy9tAO23cgcWBQDGlpeTOpPjpZSNt/YlJ2/kT/HnRVV64L2PU3ZaoeCuKMrMOQlfXFeIepJg0rcZYskMNJCX8FkwPHF1UK++goKrSSwb6jZIBDj/OAdZ8S3jA4PW/1tyZbVmaKsBrPyFcpA=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 32 of 34



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 09:09:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lW2O+fAPp1HSCa44wxqmT7ffVVfBlBvPuhf0oK/onxoxW9EqyTbsa+uE8PPblz/H9zGy2nl5C8FCJ0Y2VJlQ+/JwXTYR2w9q62CAtQXZmwfyumUtMeXTIAnEe2sIRhFLq9Y2Er5DiJljoxWgmHHiu8B4ywB25eUnR7iCSk/QVUYgEpQwblDwFrXdRMB6vR6hBX4mvqRitM/mkjHKLULEM9SutRE
   +d4uazrrfi13T2gPvNxBf/jARms9m03B9fZ2FUXi+VFc6aWlDCC8bX3CBbQd450l7Ns5KwSfLQolV90AChcdqJsHtZzBvIQROVElUDQ3Ibo2BZW6imdNzqEnbGA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-09-09-02-GMT.mhtml

   Hash (SHA256)
   bda7aad8cabfd424e844528d8c034146c25a2cd1eb99724490f4e511c8989962

   Signature (PKCS#1v1.5)
LW2BdB3rqGMhaGMNgkopCEcsnyWzydjWDOPUqNg0f48XdZgCSLIvxnikOq1l4pLtGMGCXm8qGD4kdPkOP/n2F4IUL3vkwejn/RsdvSlR1zZ3PENlY9/ZvDY367kEIa5GCxTugv4vT5M+u0pxQ/koB1TjWzMml9TExIqiacRuvNkgULiU/Koq9CrQ+lOtttUoPraxT8mshyNbvKo0uT8vBEjO2PNt/
gPeOpVeliyRWT6sRV1+6N0janAXhwzvo/vnPg6LnraxmWNmhhkNO69/GYNNWQW24+6n+TahZq49VI2xs0B+gs8faSlhHFamMhxu7c+NOfUcXhZFKC/6p//5yg==
                                                                               Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 33 of 34



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                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Aufona Smiley Face Makeup Bag for Women, Large Capacity Canvas Smiley Face Bag Aesthetic Makeup Bag Makeup Cosmetic Organizer for Travel Cosmetic Pouch Clutch Storage, Corduroy (4 Color) : Beauty & Personal Care

   URL
   https://www.amazon.com/Aufona-Capacity-Aesthetic-Cosmetic-Organizer/dp/B0BS1HZKW2/ref=sr_1_155

   Collection Date
   Thu, 20 Apr 2023 11:43:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   k0/3odiMk1+LKgN010cPySYabNrj1+KRJ8eIxjw3vCF4MUks/UPW+ApNUlN/BMC99dqHWcs9TgTL8olrs/RtqTIVjTL97SeAw1fZmOoxQneO/kNBpkvAee8Uw1ehpn6wJzCG+fySeVoFw2H09ZMhpYVF4YPDxVkZ3UbKc4FXyj4=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aufona-Capacity-Aesthetic-Cosmetic-Organizer[fs]dp[fs]B0BS1HZKW2[fs]ref=sr_1_155]]_Thu,-20-Apr-2023-11-43-55-GMT.pdf

   Hash (SHA256)
   25729c570547aff62e0bad00b832d21c93494aaa17b90086c7d64764e668a4d8

   Signature (PKCS#1v1.5)
aWmmw4EdqWLFn1xt4wU6sefZt+l8Dn1lBO8ZOY2lw8hfkifSVwRdsCR6txqTvXRDWMi+Mvu2ObqF8P8fKkFkaB/Y7K9OvmzSVG8aVZYR6ZxcucpxIPdO/ndUDS3HGqhvxjtb9oxKNO2Gn/My8xIREy/MKWkRPRnmnocvQV5Tfmo=
                                                                                Case 0:23-cv-61203-AHS Document 36-2 Entered on FLSD Docket 07/27/2023 Page 34 of 34



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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 03:15:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jtt0nWTFDI9r8xPKx4IJV4dtFLyNp7Pvd9zliibw9D5ULYXfh2mDhuBsYAam2zO8ZBxBIDr8y5hQViP27c47cDJDM8cuyb4IOiq1x0FfK9g2vPdJ38lLMtjZK5a8KfRgksd9LAnennTOzo9/heSknLED12wYz2h3crtuIy/i4rkoYzXMiqbcl/SPrUH5CN2W7hs7nhcMpJ0EUqa/
   CTL6XwCj4kgwB0thV0E1hDqRUUpMs8nr6f51geZrK0iE/gjL3YwtmY72h1j4v815yva6OQUQMCiL4OLVfz5BlAXVhNPmvwb1k37mYKovX2sSZ8RImW6yCDL2D0YjNvFFdg1lbQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-03-15-40-GMT.mhtml

   Hash (SHA256)
   629d9b0462d308223d7c06c3ea04d3d740ea6cea723a7bb255934e78ead9395b

   Signature (PKCS#1v1.5)
aRTp2s3lqFGq0aDUEGS1S1Npv3obeNW2+ZjZVxXflBDd60s662xKPvgGX+LkeN1OjW9whtwVgXDHeTjylDnG0CkZIzGytpA9wvmFICcTMdtqnZdb9viPb4KM8j4edvikpIzGVr+BZ9vv7F24nBRKt7vB83QJlyrhIHGaRVpAbD5PRErE98yToKQcAph/
ypqrUUIwVbNN30lA07QbkCN3QL7TVtdFWTljMrM2j5TwObKpNiMxdZRpfJbNFTJ3evfFMm64LCT85FbStxeBg6o7D341RiFZWRBNIbQnJXduuZabEG5WGfd1W1fYXGYolTv5RIHK7EdWEuoK40Ddy0X8YQ==
